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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



 WILLIAM C. TOTH JR., ET AL.                 :       No. 1:22-cv-00208-JPW
                                             :
                     Plaintiffs              :
                                             :
 v.                                          :
 LEIGH M. CHAPMAN, ET AL.                    :
                                             :
                     Defendants              :

                          DECLARATION OF SETH GROVE

      Under 28 U.S.C. § 1746, I, Seth Grove, make this declaration as follows:

      1.     I am over 21 years of age and fully competent to make this declaration.

      2.     I have personal knowledge of the facts stated in this declaration, and all

of the stated facts in this declaration are true and correct.

      3.     I am a member of the Pennsylvania General Assembly and represent

Pennsylvania’s 196th legislative district.

      4.     On    January    24,   2022,    following   a   months-long   congressional

redistricting process, the Pennsylvania General Assembly approved a citizen-drawn

congressional map.

      5.     That map was known as House Bill 2146.

      6.      The General Assembly passed H.B. 2146 and sent it to Governor Tom

Wolf for his signature.

      7.     The map approved by the General Assembly approved remains largely

identical to the plan submitted by Amanda Holt, a Lehigh Valley resident and

redistricting-reform advocate.

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       8.    Indeed, Governor Wolf selected Ms. Holt to serve on his Redistricting

Reform Commission and the Pennsylvania Supreme Court cited her work in

numerous redistricting court cases.

       9.    I introduced the HB 2146 following 13 public hearings, eight of which

were held across the state.

       10.   This is the most open and transparent congressional redistricting

process ever established in the General Assembly.

       11.    This is also the first time in the history of Pennsylvania the General

Assembly selected a citizen-drawn map.

       12.   HB 2146 was developed without the use of political data and focused on

meeting the traditional constitutional criteria of redistricting.

       13.   Ultimately, HB 2146 created a map of 9 Democratic-leaning districts

and 8 Republican-leaning districts. Of these 17 districts, 5 are considered competitive

districts.

       14.   Of the 17 districts, 12 have a population of 764,865, and 5 have a

population of 764,864, meeting the constitutional requirement of equal populations.

       15.   HB 2146 considered hours of testimony, 399 public comments, and

comments of interest submitted to www.PaRedistricting.com from residents of

Pennsylvania.

       16.   The Carter map adopted by the Pennsylvania Supreme Court “was filed

with the court by plaintiffs linked to the National Redistricting Action Fund, a dark

money affiliate of National Democratic Redistricting Committee, while the case was



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argued by Democratic attorney Marc Elias.” Stephen Caruso, Pa. Supreme Court

picks national Dems’ map as new congressional plan - Pennsylvania Capital-Star,

February 23, 2022, https://bit.ly/3HtyDXT

      17.    According to the National Redistricting Action Fund’s IRS From 990

their purpose of the organization is “To build a comprehensive plan to favorably

position Democrats for the redistricting process of 2022.” https://bit.ly/3htUyn3

      18.    This Carter map was drawn behind closed doors by a California

resident without the knowledge of Pennsylvania or input of Pennsylvanians.

      19.    Pennsylvania has a natural political geography which creates an

advantage to the Republican party.

      20.    Simply stated, Democrats are heavily concentrated in urban areas (the

cities of Philadelphia Pittsburgh) while Republicans are spread throughout

Pennsylvania (the “T”).

      21.    The Carter map creates 10 Democratic-leaning districts and 7

Republican Districts.

      22.    This is an outlier as the natural political geography of Pennsylvania

creates 9 Democratic-leaning districts.

      23.    To reduce or eliminate the natural political geographic advantage

Republicans have in Pennsylvania, the creators of the Carter map must gerrymander

to eliminate that advantage.




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      24.     The Carter map overcomes this natural geographic political advantage

by using typical gerrymandering tactics to draw more advantageous lines for

Democrats.

      25.     This is reflected in map decisions the California mapmaker made in the

map design.

      26.     First, the Carter map was designed to be “least-change” from the 2018

map that Pennsylvania Supreme Court imposed in League of Women Voters v.

Commonwealth, 178 A.3d 737 (Pa. 2018).

      27.     According to the Pennsylvania Supreme Court’s special master, the

Carter map that the state supreme court imposed has a partisan gerrymander

favoring Democrats.

      28.     Two incumbent Republican Congressmen were placed in the same

district: Congressman G.T. Thompson and Congressman Fred Keller.

      29.     In a redistricting process that requires the loss of a seat, this is expected,

but unnecessary.

      30.     HB 2146 grouped Congressman Matthew Cartwright, a Democrat, and

Congressman Dan Meuser, a Republican, together in a competitive district so that

voters could decide who the next member of Congress would be — not an out-of-state

mapmaker hired by a Democratic dark-money organization.

      31.     The population growth of Pennsylvania occurred in the southeast and

southcentral parts of Pennsylvania.




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      32.    Therefore, the 2022 map should have shifted seats toward the southeast,

with rural congressional districts growing in geographical size and being pulled

toward the southeast, and the suburban and urban seats in the southeast shrinking

in geographical size and again being pulled toward the southeast.

      33.    The reverse happened in the Carter map.

      34.    The 4th congressional district was pulled westward into Berks County,

providing a safer district for Congresswoman Madeleine Dean, a Democrat.

      35.    This allowed the California mapmaker, who created the Carter map, to

move the Delaware County–based 5th congressional district north into Montgomery

County.

      36.    The 2020 census population of Montgomery County is 856,553, which is

91,688 over the target population of a Pennsylvania congressional district of 764,864.

      37.     The only reason to move a Montgomery County–based district west

into Berks County, while simultaneously moving a Delaware County–based seat

north into Montgomery County, is partisan gerrymandering.

      38.    Further, the 6th congressional district also moved west, against the

natural population trends of Pennsylvania, into Berks County, providing another

gerrymandered seat for Democrats.

      39.    The 10th and 11th congressional districts in southcentral Pennsylvania

moved west, creating a safer seat for Congressman Lloyd Smucker, a Republican, and

maintaining the Democratic-gerrymandered 10th congressional district of the 2018

map, while adding more western municipalities of Cumberland County.



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      40.    Again, these congressional districts movements heading west is against

the population growth areas of Pennsylvania.

      41.    The 9th congressional district was gerrymandered to create a seat to

pack Republicans into a district starting at the New York state border to the Lebanon

County and Lancaster County line.

      42.    The drawing of the 7th, 8th, and 9th districts completely eviscerated the

coal-country communities of interest.

      43.    The 12th congressional district in the Carter map creates a “Freddy

Kreuger”–like claw out of the City of Pittsburgh.

      44.    Allegheny County has a 2020 census population of 1.25 million people,

which means the county should have an entire congressional district within its

borders and another partial congressional seat.

      45.    The Carter map creates two partial Allegheny County seats to create

two safe Democratic seats.

      46.    Lastly, the Carter map ignores the Constitution’s equal-population rule.

      47.    The 1st, 5th, 8th, and 14th congressional districts in the Carter map

have a population of +1 over the targeted congressional population.

      48.    The 3rd, 6th, 9th, 10th, 11th, 12th, 13th, 15th, and 17th congressional

districts in the Carter map that the Pennsylvania Supreme Court selected have a

population of –1 under the targeted congressional population.

      49.    The two-person deviation flies in the face of the one-person, one-vote

principle and is blatantly unconstitutional.



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      50.    Also of note, most of the +1 congressional districts are Democratic-

leaning districts and most of the –1 congressional districts are Republican leaning.

      51.    Using population deviation is another gerrymandering tool when a

mapmaker can maximize the population in certain districts and minimize the

population in other districts to crack and pack voters for partisan outcomes.

      52.    I declare, certify, verify, and state under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.



___________________________________
SETH GROVE


Date: ______________________________




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